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IN THE UNITED STATES DISTRICT COURT §§ ,
FoR THE NoRTHERN DISTRICT oF ILLINoIs § §;. ‘P §§
EASTERN DIVISION §3 §§ §§
g“f 1 §§ ~¢L_
PA'MELA D. BRAY, ) TRIAL BY JURY DEMANDED§ '“`* §§
(Police Star No. 14176; ) ,F w ‘C
Employee No. 310628) )
)
Plaintiff ) c mw
) E§§“Q §
v. ) Civil No. §WF“§»@M)
)
CITY OF CHICAGO, a municipal ) _“§r l
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Def; )

 
 

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UCT l(]ZUUj COMPLAINT

JURISDICTION AND VENUE

l. This is a claim for relief under Title VII of the
Civil Rights Act of 1964, 42 U.S.C. 2000e-2(a)(1) and 2000e-3(a).
Jurisdiction is posited upon 28 U.S.C. § 1343(4).

2. Defendant is an employer within the meaning of the
Act. The conduct complained of occurred within this judicial

district in the City of Chicago.

ADMINISTRATIVE PROCEDURES
3. Before bringing this claim, plaintiff filed a
charge of discrimination against defendant with the Illinois
Department of Human Rights and the United States Equal Employment

Opportunity Commission ["EEOC"j.

4. The EEOC, on or about March 21, 2001, found reason-
able cause to believe that a violation of the act had been

Committed by the employer. Ex. A.

_1_

5. The EEOC's efforts to resolve the charge by
informal methods of conference, conciliation and persuasion Were
unsuccessful. Therefore, on September 21, 2001, a right-to-sue
letter from the Equal Employment Opportunity Commission was
issued on grounds that the Commission was unable to file a
private civil action on behalf of plaintiff. Ex. B. This suit
has been timely filed within 90 days of receipt of said right-to-

sue letter.

STATEHENT OF CLAIM

6. Plaintiff was employed by defendant during the
year 2000 on defendant's Police Department as a "probationary*
police officer§ During the time employed, she was inappropriate~
ly sexually harassed in her place of employment, in violation of
42 U.S.C. 2000e-2(a)(1), by her direct super-visor.

7. After plaintiff's complaining of the gender-based
hostile work environment alleged, defendant failed, neglected and

refused to take prompt, effective and appropriate corrective

action to eradicate the unlawful conduct; more particularly,
defendant materially altered the terms, conditions and privileges
of plaintiff's employment, and then retaliated against her, in
violation of 42 U.S.C. 2000e-3(a), by discharging her from
employment on or about October 24, 2000.

8. As a direct and proximate result of the tangible
job action and unlawful discrimination alleged, plaintiff has

been humiliated, embarrassed, inconvenienced and economically

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harmed.
PRAYER FOR RELIEF
9. wherefore, plaintiff, PAME`LA D. BRAY, asks the
court to enter judgment in her favor, upon the verdict of a jury,
and against the defendant, CITY OF CHICAGO, a municipal corpor~
ation, for any and all relief to which the court may determine

she is entitled, pursuant to the Act.

  

 

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ERNEST T. OSSIELLO
& ASSOCIATES, P.C.
300 West Washington Street,
Suite 1004
Chicago, Illinois 60606
Telephone: (312) 346-8920
Telefax: (312) 346-5988

Attorney for Plaintiff

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Chicago District Ofi'ice 500 war Madison sr., suite zsoo
Chicago, iL 60661

PH-. (312) 353-2713

roo; (312) 353-2421

ENFoRcEMsm rsz (312>326.1168

LEGAL ssz (312) 353-3555

 

EEOC Charge Numb er: 210Al 0409

Pameia D. Bray n
9300 South Bishop Charglng Party
Chicago, Illinois 60620

V.

City of Chicago, Chicago Police Department

1300 West Iackson Respondent
Chicago, Illinois 60607

DETERMINATION

 

Under the authority vested in me by the Conirnission's Procedural Regulations, l issue the following
determination on the merits of the subject charge filed under Title VII of the Civil Rights Act of 1964, as
amended (Title Vll). Tlie Respondent is an employer within the meaning of Title Vll and all other
requirements for coverage have been met.

Charging Parly alleges that she was discriminated against on the basis of her sex, female, in that she was
subjected to sexual harassment by her Field 'l`raining Ofiicers and discharged

*'°""_“"`-”rhavedete!rrlirf€d thatthe-evidenceobtai!rcd'm¥lleinvesngationestablishes reasonable cause to believe that
Respondent violated Title Vll by subjecting Charging Party to sexual harassment by her Field Training
Officers. Furthermore, l have determined that the evidence obtained in the investigation establishes
reasonable cause to believe that Respondent violated Title Vll in that it retaliated against Charging Party

by discharging her. .

This determination is final. When the Commission finds that violations have occurred, it attempts to
eliminate unlawful practices by informal methods ofconciliation. Therefore, I invite the parties to join With
the Cornmission in reaching a just resolution of this matter Disclosure of information obtained by the
Cornmission during the conciliation process Will be made only in accordance with the Cornmission's
Procedural Regulations (29 CFR Part 1601.26)-

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EEOC_Charge Number 210A10409
Page 2 of 2

If the Respondent wishes to accept this invitation to participate _in conciliation efforts, it may do so at this
time by proposing terms for a conciliation agreement that proposal should be provided to the Commission
representative within 14 days of the date of this determination The remedies for violations of the statutes
we enforce are designed to make the identified victims whole and to provide corrective and preventive relief _
These remedies may include, as appropriate an agreement_by the Respondent to not engage in unlawliil
employment practices, placement of identified victims in positions they would have held but for
discriminatory actions, back pay, restoration of lost benefits, injunctive rclief, compensatory and/or punitive
damages and notice to employees of the violation and the resolution of the claim.

Should the Respondent have further questions regarding the conciliation process or the conciliation terms
it'would like to propose, We encourage it to contact the assigned Commission representative Should there
be no response from the Respondent in 14 days, we may conclude that further conciliation efforts would be
futile or nonproductive. -

On Behalf of the Conirnission,

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Date John if Rowe

Distriet Director

 

 

 

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US Departm¢j" ‘ of Justice

Civil Rights Division

 

Employmenr `Lirigan`on Secn'on
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Washfngton, DC 20035-5968
wmv.usdoj.gov/crt/emp/emphome.htm!

NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

RFB:WBF:mdw -
DJ 170'23‘30.1 sta 2 '1 2001
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RETURN RECEIPT REQUESTED

Pamela D. Bray
9300 South Bishop
Chicago,`lllinois 60602 - 7 ~ . ,owm ,,WTM*FWJLQ_ ‘“Ayu~”m
Re: Pamela D. Bray v. City of Chicago, Chicago Police
Department, EEOC No. 210-Al-0409

Dear Ms. Bray:

The Civil Rights Division has completely reviewed the file referred to us by
the Equal Employment Opportunity Commission (EEOC) in its investigation of your
charge of discrimination, and it has been determined that we will not file suit in
this particular matter against the respondent. This should not be taken to mean
that the Department of Justice has made a judgment as to whether or not your charge
is meritorious. ,

You are hereby notified that conciliation in this matter was unsuccessful by
the EEOC. You are further notified that you have the right to institute a civil
action under Title VII of the Civil Riohts Act of 1964, as amended, 42 U.S.C. 2000e,
gt §§g., against the above-named respondent. If you choose to commence a civil
action, such suit must be filed in the appropriate court within 90 days of your
receipt of this Notice.

=a'~Therefore, you should consult an attorney of your own choosing at your

rearliest convenience. If you are unable to locate an attorney, you may wish to

contact the EEOC, or apply to the appropriate court, since that court may appoint an
attorney in appropriate circumstances under Section 706(f)(l) of Title VII, 42
U.S.C. 2000e-5(f)(l).

We are returning the files in this matter to EEOC's Chicago District Office.
If you or your attorney have any questions concerning this matter or wish to inspect
the investigative file, please feel free to address your inquiry to: John P. Rowe,
District Director, EEOC, 500 West Madison St., Suite 2800, Chicago, ILL 60661.

Sincerely,
Ralph F. Boyd, Jr.

Assistant Attorney General
Civil Rights Division

By;r Mj\i\»- g _ 1§3,3§~_

William B. Fenton
_ Deputy Chief
Employment Litigation Section

EXHIB|T

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l. (a) PLA|NTIFFS DEFENDANTS
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLI'NOIS
Eastern Divlsion

In the Matter of

 

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Chicago, Illinois 60606

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TEE.EPHONE N`UMBER

(312) 346-3920

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